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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

THOMAS REMICK, ET AL.,                   :
                                         :       CIVIL ACTION NO. 20-1959
      v.                                 :
                                         :
CITY OF PHILADELPHIA, ET AL.             :

                                         ORDER

      This 9th day of September, 2024, it is hereby ORDERED that Plaintiff’s Motion for Copy

of Full Docket and Reissue of Notices (ECF 202) is DENIED as MOOT.



                                                 /s/ Gerald Austin McHugh
                                                 United States District Judge
